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                                               Application GRANTED. Defendant shall answer, move or
                                               otherwise respond to Plaintiff's Complaint by January 18,
December 15, 2022                              2023. No further extensions will be granted absent
                                               extraordinary circumstances. So Ordered.
VIA ECF
                                               Dated: December 16, 2022
The Honorable Lorna G. Schofield                     New York, New York
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007


Re:      Dicks v. Everyday Health, Inc. d/b/a BabyCenter, LLC, Case No. 1:22-cv-07875-LGS


Dear Judge Schofield:

We represent Defendant Everyday Health, Inc. d/b/a BabyCenter, LLC (“Defendant”) in the above-
referenced matter. We respectfully move the Court to extend Defendant’s deadline to answer, move, or
otherwise respond to the Plaintiff’s Complaint from December 19, 2022 to January 18, 2023.

Defendant’s counsel was only recently retained. Plaintiff’s counsel has consented to this extension, which
will permit Defendant’s counsel to investigate and the parties to communicate regarding Plaintiff’s
allegations. This Court granted a prior extension on November 22, 2022. (Dkt #13).




                                                                     Respectfully submitted,



                                                                     /s/ Rebecca A. Stark
                                                                     Rebecca A. Stark


cc:     All counsel of record (by ECF)




Sirote ► Adepetun Caxton-Martins Agbor & Segun ► Davis Brown ► East African Law Chambers ► Eric Silwamba, Jalasi and Linyama ►
Durham Jones & Pinegar ► LEAD Advogados ► Rattagan Macchiavello Arocena ► Jiménez de Aréchaga, Viana & Brause ► Lee International ►
Kensington Swan ► Bingham Greenebaum ► Cohen & Grigsby ► Sayarh & Menjra ► For more information on the firms that have come together
to form Dentons, go to dentons.com/legacyfirms
